  Case 11-27934         Doc 810    Filed 10/02/18 Entered 10/02/18 14:23:51          Desc Main
                                    Document     Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


     ARNOLD R. DORMER, JR.,                                          Case No. 11-27934-PJD

               Debtor                                                Chapter 11


 MOTION TO DETERMINE LOAN BALANCES OWED BY REORGANIZED DEBTOR
               TO OCWEN FINANCIAL CORPORATION,
                AS ASSIGNEE OF GMAC MORTGAGE, LITTON, AND AHMSI



           Comes now Arnold R. Dormer, Jr., the Reorganized Dormer (“Dormer”), by counsel, and

moves the Court, pursuant to the terms of the Confirmed Plan of Reorganization, to determine

proper balances owed by Dormer to Ocwen Financial Corporation (“Ocwen”), as assignee of

GMAC Mortgage, Litton and AHMSI, and in support of his Motion, would show the Court as

follows:

                                              FACTS

       1.        This Chapter 11 case was filed on August 5, 2011.

       2.        On January 27, 2012, Dormer filed his Second Amended Plan of Reorganization

(the “Plan”). GMAC, Litton and AHMSI were listed as creditors under Classes 5, 6, 7, 120, 134,

144, 145, 146 and 147 of the Plan.

       3.        GMAC and AHMSI filed certain objections to the Plan. Dormer and counsel for

these mortgage servicers resolved the objections by making modifications to the treatment of

Class claims as set forth in multiple Agreed Orders
     Case 11-27934         Doc 810     Filed 10/02/18 Entered 10/02/18 14:23:51              Desc Main
                                        Document     Page 2 of 3


    [D.E. ] filed on .

            4.       On August 30, 2012, the Court entered its Order Confirming Plan [D.E. 652].

            5.       Pursuant to the terms of the confirmed Plan, successors in interest to Ocwen were

    listed as creditors holding first priority deeds of trust on the following parcels of real property:

Class No.        Secured Claim                            Property Address
5                $                   4037 Knob, Memphis, TN
6                $                   2512 Labonte, Memphis, TN
7                $                   4056 Mountain Terrace, Memphis, TN
120              $                   1152 Merchant
134              $                   4212 Beacon Hills
144              $                   4234 Wagon Wheel, Memphis, TN
145              $                   2448 Wellons, Memphis, TN
146              $                   2456 Wellons, Memphis, TN
147              $                   2462 Wellons, Memphis, TN



            6.       The effective date of the Plan was October 15, 2012.

            7.       The Debtor is current with all payments under the Plan. In spite of repeated

    communications requesting that Ocwen recognize the effect of the confirmed Plan and adjust its

    records accordingly, it has failed and refused to do so.

                     WHEREFORE, Dormer prays that the Court make a determination that the principal

    balance owed to Ocwen is as set out in the Plan and Agreed Orders resolving the Objections to

    Confirmation as of the Effective Date and that all payments due under the Plan are current, that the

    Court compel Ocwen to comply with the terms of the Agreed Orders, Plan and the Order

    Confirming Plan and provide correct statements, and for such other relief to which he may be

    entitled.
   Case 11-27934       Doc 810      Filed 10/02/18 Entered 10/02/18 14:23:51           Desc Main
                                     Document     Page 3 of 3


                                             Respectfully submitted,

                                             BEARD & SAVORY, PLLC

                                             /s/ Russell W. Savory

                                             Russell W. Savory (12786)
                                             Attorney for Arnold R. Dormer, Jr.
                                             119 South Main Street, Suite 500
                                             Memphis, TN 38103
                                             901-523-1110



                                    CERTIFICATE OF SERVICE

       I, Russell W. Savory, do hereby certify that a true and genuine copy of the foregoing pleading

has been served on following parties by electronic notice or U.S. Mail, this 2nd day of October, 2018:




                                             /s/ Russell W. Savory
                                             ____________________________________
                                             Russell W. Savory
